Case 2:18-cv-00530-MSD-RJK Document 586-2 Filed 01/12/23 Page 1 of 5 PageID# 14526




                             EXHIBIT B
                                 Case 2:18-cv-00530-MSD-RJK Document 586-2 Filed 01/12/23 Page 2 of 5 PageID# 14527


Ex. No.   Description                               Bates Begin     Bates End      Dep. Exhibit or Alt. Reference   NSR Objections                                    NPBL Additional Objections




                                                                                                                    401 or 402 - Relevance; 401, 402, & 403 – MIL
          2002.09.26 Email Chain Re: NPBL - Rate                                   Luebbers Depo. 2                 Internal Emails; 401, 402, & 403 – not relevant
          Structure Committee Recommendations (NS                                  McClellan Depo. 3                to show conspiracy & unfairly prejudicial; 401,
 P018     Portion)                                  NSR_00306424    NSR_00306425   Luebbers Depo. 3                 402, & 403 – SJ Statute of Limitations

                                                                                   Luebbers Depo. 2
 P021     2006.10.24 Email Re: NPBL Rate Meeting    NSR_00306426    NSR_00306427   Luebbers Depo. 3                 401, 402, & 403 – SJ Statute of Limitations




                                                                                                                    401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Heller Depo. 1                   402, & 403 – not relevant to show conspiracy &
                                                                                   Luebbers Depo. 1                 unfairly prejudicial; 401, 402, & 403 – SJ     NPBL MIL #1; NS MIL (D.E. 337);
 P027     2009.04.17 Email Chain FW: NPBL           NSR_00027114    NSR_00027115   Luebbers Depo. 3                 Statute of Limitations                         NPBL MIL #5




                                                                                   Heller Depo. 1                   401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Luebbers Depo. 1                 402, & 403 – not relevant to show conspiracy &
          2009.04.24 Email Chain Re: NPBL - Rate                                   NSR 30(b)(6) Hunt                unfairly prejudicial; 401, 402, & 403 – SJ
 P028     Committee CONFIDENTIAL                    NSR_00011118    NSR_00011120   Luebbers Depo. 3                 Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)




                                                                                                                    401, 402, & 403 – MIL Diamond Track; 401,
                                                                                                                    402, & 403 – MIL Reasonable Rate; 401, 402,
          2009.04.27 Email Chain Re: NPBL - Rate                                                                    & 403 – SJ Statute of Limitations; 602 -
 P029     Committee CONFIDENTIAL                    NSR_00011108    NSR_00011111   Luebbers Depo. 3                 Foundation; 802 - Hearsay

          2009.06.01 Email Chain Re: CSX vs. NS 2008                               Luebbers Depo. 1
 P032     Port Volumes                               NSR_00027503   NSR_00027506   Luebbers Depo. 3                 401, 402, & 403 – SJ Statute of Limitations

                                                                                   Luebbers Depo. 1
 P035     2009.06.19 Email Re: CSX and NIT          NSR_00027097                   Luebbers Depo. 3                 401, 402, & 403 – SJ Statute of Limitations
                               Case 2:18-cv-00530-MSD-RJK Document 586-2 Filed 01/12/23 Page 3 of 5 PageID# 14528




                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                              402, & 403 – not relevant to show conspiracy &
                                                                                   Luebbers Depo. 1           unfairly prejudicial; 401, 402, & 403 – SJ
P037   2009.06.23 Email Re: NPBL Information      NSR_00084730                     Luebbers Depo. 3           Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)




                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Luebbers Depo. 2           402, & 403 – not relevant to show conspiracy &
       2009.07.27 Email Re: MRM Letter to Manion                                   McClellan Depo. 3          unfairly prejudicial; 401, 402, & 403 – SJ
P040   NPBL 24Jul09.doc with attachment          NSR_00305952       NSR_00305954   Luebbers Depo. 3           Statute of Limitations; 602 - Foundation

       2009.07.29 NS Internal Meeting Notes - NPBL
       Rate Committee Meeting with handwritten                                     McClellan Depo. 3          401, 402, & 403 – SJ Statute of Limitations --
P041   notes                                       NSR_00306373     NSR_00306376   Luebbers Depo. 3           602-Foundation




       2009.07.31 Email from Chris Luebbers to Liesl
       McLemore, Gregg Cronk, & Thomas Hibben
       Re: Rate Committee Follow Up with                                           Heller Depo. 1             106 - Completeness; 401, 402, & 403 – MIL
       Attachment 'NPBL Rate Committee Mtg 7-29-                                   Luebbers Depo. 1           Internal Emails; 401, 402, & 403 – not relevant
       09 v4.doc' [NS Internal Meeting Notes Dated                                 NSR 30(b)(6) Hunt          to show conspiracy & unfairly prejudicial; 401,
P042   7/29/2009]                                    NSR_00027070   NSR_00027075   Luebbers Depo. 3           402, & 403 – SJ Statute of Limitations          NPBL MIL #1; NS MIL (D.E. 337)




                                                                                                              401, 402, & 403 – not relevant to show
                                                                                   Luebbers Depo. 1           conspiracy & unfairly prejudicial; 401, 402, &
P043   2009.08.03 Email Re: Easy Questions        NSR_00027069                     Luebbers Depo. 3           403 – SJ Statute of Limitations




                                                                                   Coleman Depo.
                                                                                   Luebbers Depo. 1           401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   NPBL 30(b)(6)/Moss Depo.   402, & 403 – not relevant to show conspiracy &
       2009.09.24 NPBL Rate Committee Meeting                                      Stinson Depo.              unfairly prejudicial; 401, 402, & 403 – SJ
P046   Recap for NS Participants only             NSR_00035903      NSR_00035906   Luebbers Depo. 3           Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)

       2010.05.27 Email Re: Please Evaluate                                        C. Booth Depo.
P053   attaching 5/10/20 Operation Plan           NSR_00015155      NSR_00015159   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                               Case 2:18-cv-00530-MSD-RJK Document 586-2 Filed 01/12/23 Page 4 of 5 PageID# 14529




                                                                                   Heller Depo. 1             401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Stinson Depo.              402, & 403 – not relevant to show conspiracy &
       2010.07.07 Email Chain Re: CSX forecast                                     Summy Depo.                unfairly prejudicial; 401, 402, & 403 – SJ
P054   model                                         NSR_00062929                  Luebbers Depo. 3           Statute of Limitations; 802 - Hearsay          NPBL MIL #1; NS MIL (D.E. 337)
       2010.08.30 Email Chain Re: QM Junction                                      Luebbers Depo. 1
P060   trackage improvements                         NSR_00011094   NSR_00011095   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
       2010.09.21 Email Chain FW: Norfolk, VA -
       Proposed track changes at QM Junction -
       Sewells Point Branch // Request for Dept Cost                               C. Booth Depo.
P064   Involvement (NIT)                             NSR_00001786   NSR_00001792   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                                              401 or 402 - Relevance; 401, 402, & 403 – MIL
                                                                                                              Internal Emails; 401, 402, & 403 – not relevant
                                                                                                              to show conspiracy & unfairly prejudicial; 401,
                                                                                                              402, & 403 – SJ Statute of Limitations; 602 -
P081   2011.11.07 Email Chain Re: NPBL              NSR_00026701    NSR_00026701   Luebbers Depo. 3           Foundation                                      NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                              401, 402, & 403 – not relevant to show
       2015.04.09 Email Chain FW: [External]                                       Luebbers Depo. 1           conspiracy & unfairly prejudicial; 401, 402, &
P098   Request for Operating Window                 NPBL024288                     Luebbers Depo. 3           403 – SJ Statute of Limitations
                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                              402, & 403 – not relevant to show conspiracy &
                                                                                   Heller Depo. 1             unfairly prejudicial; 401, 402, & 403 – SJ
       2015.07.09 Email Chain Re: NPBL                                             Luebbers Depo. 1           Statute of Limitations; 602 - Foundation; 802 -
P106   Agreements attaching Norfolk Rail Operations NSR_00047112    NSR_00047114   Luebbers Depo. 3           Hearsay                                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                   Coleman Depo.
                                                                                   NPBL 30(b)(6)/Moss Depo.
       Tariff NPB 8100-H, Issued 3/31/08, Effective                                Stinson Depo. Ex. 7        401, 402, & 403 – SJ Statute of Limitations;
P161   5/1/08                                        NSR_00035907   NSR_00035915   Luebbers Depo. 3           403 - Cumulative
       2002.12.27 T. Hobbs letter to Appropriate
       NPBL Personnel Connecting Railroads
       Industries enclosing Tariff NPB8100-F, Issued                               Luebbers Depo. 2           401, 402, & 403 – SJ Statute of Limitations;
P173   1/1/03, effective 2/1/03                      NSR_00306614   NSR_00306623   Luebbers Depo. 3           403 - Cumulative
                                                                                   Coleman Depo.
       2007.09.17 Email Chain Re: NPBL rate                                        Luebbers Depo. 1
P176   committee 2007                               NSR_00027549                   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                   Luebbers Depo. 1           401, 402, & 403 – not relevant to show
                                                                                   Stinson Depo.              conspiracy & unfairly prejudicial; 401, 402, &
P198   2009.06.29 Email Re: Rate Committee History NSR_00063116                    Luebbers Depo. 3           403 – SJ Statute of Limitations
       2009.07.23 T. Ingram letter to D. Stinson Re:
       Request for Information Regarding NPBL                                      Luebbers Depo. 2           401, 402, & 403 – SJ Statute of Limitations;
P203   Properties with handwritten notes             NSR_00306440   NSR_00306442   Luebbers Depo. 3           802 - Hearsay; 602 - Foundation
                                                                                   Luebbers Depo. 1
P210   2009.08.24 Email Re: Norfolk Volumes         NSR_00027049                   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                                              401, 402, & 403 – not relevant to show
                                                                                   Luebbers Depo. 1           conspiracy & unfairly prejudicial; 401, 402, &
P211   2009.08.24 Email Re: Track Chart Questions   NSR_00027052                   Luebbers Depo. 3           403 – SJ Statute of Limitations
                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                              402, & 403 – not relevant to show conspiracy &
       2009.09.21 Email Chain FW: NPBL Rate                                        Coleman Depo.              unfairly prejudicial; 401, 402, & 403 – SJ
P216   Committee                                    NSR_00183825                   Luebbers Depo. 3           Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
                              Case 2:18-cv-00530-MSD-RJK Document 586-2 Filed 01/12/23 Page 5 of 5 PageID# 14530


                                                                                  NPBL006573-75
                                                                                  CSXT0082190-91
       2009.10.23 Email Re: NS Recommendations,                                   Luebbers Depo. 1      401, 402, & 403 – not relevant to show
       with Attachment: 'NPBL Recommendations 10-                                 Coleman Depo.         conspiracy & unfairly prejudicial; 401, 402, &
P231   23-09.doc'                                 NSR_00035548     NSR_00035550   Luebbers Depo. 3      403 – SJ Statute of Limitations
       2010.07.28 Email Chain Fw: BIT Operating
       Plan afforded the NPBL/CSXT = FW: Please                                   Luebbers Depo. 2
P258   Evaluate                                   NSR_00306436     NSR_00306437   Luebbers Depo. 3      401, 402, & 403 – SJ Statute of Limitations
                                                                                  Luebbers Depo. 1      401, 402, & 403 – MIL Internal Emails; 401,
                                                                                  Stinson Depo.         402, & 403 – not relevant to show conspiracy &
       2010.09.03 Email Chain Re: CSX NIT                                         Wheeler Depo.         unfairly prejudicial; 401, 402, & 403 – SJ
P270   Operation Proposal                           NSR_00062844   NSR_00062846   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
                                                                                                        unfairly prejudicial; 401, 402, & 403 – SJ
P337   2015.03.30 Email Chain Re: CSX- NIT          NSR_00001419   NSR_00001420   Luebbers Depo. 3      Statute of Limitations; 802 - Hearsay          NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
                                                                                  C. Booth Depo.        unfairly prejudicial; 401, 402, & 403 – SJ
P350   2015.04.02 Email Chain Re: NPBL Recap        NSR_00001402   NSR_00001403   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401 or 402 - Relevance; 401, 402, & 403 – not
                                                                                                        relevant to show conspiracy & unfairly
                                                                                                        prejudicial; 401, 402, & 403 – SJ Statute of
P360   2015.05.15 Email Re: Thanks again            NPBL010882     NPBL010882     Luebbers Depo. 3      Limitations; 802 - Hearsay

                                                                                                        401 or 402 - Relevance; 401, 402, & 403 – MIL
                                                                                                        Internal Emails; 401, 402, & 403 – not relevant
                                                                                  Heller Depo. 1        to show conspiracy & unfairly prejudicial; 401,
P363   2015.05.30 Email Re: NPBL Trackage Rights    NSR_00004475                  Luebbers Depo. 3      402, & 403 – SJ Statute of Limitations          NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
       2015.06.26 Email Chain Re: NPBL Trackage                                   Heller Depo. 1        unfairly prejudicial; 401, 402, & 403 – SJ
P369   Rights                                       NSR_00004472   NSR_00004473   Luebbers Depo. 3      Statute of Limitations                          NPBL MIL #1; NS MIL (D.E. 337)
       2016.02.26 Email Re: Squires Port Briefing                                 Luebbers Depo. 1
P382   attaching East Coast Ports Review            NSR_00064063   NSR_00064095   Luebbers Depo. 3      401, 402, & 403 – SJ Statute of Limitations
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
       2016.03.15 Email Chain Fw: NIT Expansion -                                 Luebbers Depo. 1      unfairly prejudicial; 401, 402, & 403 – SJ
P383   Pilot Article 3/15                         NSR_00054868     NSR_00054869   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
       2016.03.15 Meeting Invitation from Carol                                   Heller Depo. 1        401, 402, & 403 – MIL Internal Emails; 401,
       Sensing to Carol Sensing, Ed Elkins, Chris                                 Luebbers Depo. 1      402, & 403 – not relevant to show conspiracy &
       Luebbers, & Kenneth Joyner Re: Review                                      NSR 30(b)(6) Joyner   unfairly prejudicial; 401, 402, & 403 – SJ
P384   Strategy Regarding NIT Access              NSR_00005173     NSR_00005173   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                        401 or 402 - Relevance; 401, 402, & 403 – MIL
       2016.11.30 Confidential, Hampton Roads Port                                Luebbers Depo. 2      Reasonable Rate; 401, 402, & 403 – SJ Statute
P393   / Rail Review                               NSR_00104571    NSR_00104580   Luebbers Depo. 3      of Limitations; 602 - Foundation; 802 - Hearsay
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
                                                                                                        unfairly prejudicial; 602 - Foundation; 802 -
P397   2016.12.20 Email Re: NPBL Discussion         NSR_00024527   NSR_00024527   Luebbers Depo. 3      Hearsay                                         NPBL MIL #1; NS MIL (D.E. 337)
